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                             No. 1:17-MD-2804

                        United States District Court
                         Northern District of Ohio

                  In re: National Prescription Opiate Litigation



  BRIEF OF AMICI CURIAE IN SUPPORT OF A SETTLEMENT
     AGREEMENT INCLUDING BROAD TRANSPARENCY
   PROVISIONS IN THE INTEREST OF FUTURE RESEARCH




                                     Brief of Amici Curiae

                       American Medicine and Public Health Historians and
                            the Organization of American Historians

  September 12, 2019

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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                   )      MDL No. 2804
OPIATE LITIGATION                              )
                                               )      Case No. 1:17 MD 2804
                                               )
THIS DOCUMENT RELATES TO:                      )      Judge Dan Aaron Polster
                                               )
ALL CASES                                      )
                                               )


                        BRIEF OF AMICI CURIAE
      IN SUPPORT OF A SETTLEMENT AGREEMENT INCLUDING BROAD
    TRANSPARENCY PROVISIONS IN THE INTERESTOF FUTURE RESEARCH


                                INTERESTS OF AMICI CURIAE

        The amici curiae are 35 historians of American medicine and public health and the

Organization of American Historians (OAH). Amici have no direct stake in the outcome of the

settlement negotiations, nor does our brief take a position in the bellwether cases or on the

overall scope and structure of a potential settlement. Instead, we come before the court to express

our belief in the need for sustained research in all dimensions—medical, economic, social, and

cultural—of the prescription opiate crisis. Amici contend that, through the inclusion of such

transparency provisions as are described in the present brief, a settlement has the potential to

secure the conditions for impactful research into the origins and ramifications of this defining

crisis in the recent history of our nation.

        Individual signatories are faculty members at leading research universities with

distinguished publication records on such topics as the history of drugs, drug addiction, and drug

policy; racial and socio-economic disparities in U.S. health care; corporate influence in the
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biomedical sciences; and the respective roles of policy, activism, and litigation in confronting

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He no longer serves in any such capacity.


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   Disclosure: Dr. Milov held a postdoctoral fellowship at the UCSF Center for Tobacco Control Research and
Education in 2013. The Center for Tobacco Control Research and Education was established in parallel with the
UCSF Industry Documents Library, which forms the subject of this brief. Both programs are located on the same
premises and have collaborated on tobacco-related research and education projects in the past. However, they are
institutionally separate and rely on different sources of funding.
***
    Disclosure: Dr. Podolsky is a member of the UCSF Center for Tobacco Control Research and Education’s
External Advisory Committee. The Center for Tobacco Control Research and Education was established in parallel
with the UCSF Industry Documents Library, which forms the subject of this brief. Both programs are located on the
same premises and have collaborated on tobacco-related research and education projects in the past. However, they
are institutionally separate and rely on different sources of funding.


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       The Organization of American Historians (OAH), established in 1907, is the largest

professional society dedicated to the teaching and study of American History. It currently

represents more than 7,800 historians working in the U.S. and abroad. Its membership consists of

college and university professors, precollegiate teachers, archivists, museum curators, public

historians, students, and a variety of scholars employed in government and the private sector. Its

core missions include the promotion of open access to historical resources and scholarship, the

exhibition and preservation of artifacts, the discussion of historical questions, and the

dissemination of knowledge.

       The views of individual signatories as expressed in this brief do not necessarily represent

the views of any university or other institutions. Moreover, the views expressed in the brief do

not necessarily represent the views of any individual members or other institutions affiliated with

the Organization of American Historians.




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                                          ARGUMENT

       Addiction is in some respects an intensely individual experience; it grows out of uniquely

personal histories and often severs the bonds that tie a victim to potential communities of

support. At the same time, every victim of the opioid epidemic in America was caught in a web

of circumstances that stretched far beyond the grasp of individuals and individual communities.

The list of these circumstances is a long one; it includes the potency of the drugs themselves, the

power of marketing methods honed over decades by a resourceful and ill-regulated industry, an

imperfect and inequitable health care system, a lack of adequate treatments for patients living

with chronic pain, and a prevailing culture that views substance abuse through a moral rather

than medical lens. These interlocking factors produced their most devastating effect in places

where deepening economic insecurity made people vulnerable to what a landmark study on the

subject termed “deaths of despair.”1 The scope of the resulting crisis is such that no settlement,

no matter the amount of damages, can aspire to repair all of the harm done, if only because so

much of the loss incurred is of the kind that cannot be repaid or repaired.

       Nonetheless, amici believe in the possibility of a successful settlement that could serve

several critical interests of the public. Among these interests is access to information. The

concealment of information about the abuse potential and distribution patterns of opioid

painkillers allowed the opioid crisis to take root in the first place and to grow to its current

dimensions. Since secrecy fueled the crisis, no just and genuinely remedial settlement can be

reached unless it honors the public’s right to know and secures the conditions for its effective

exercise into the future. As scholars, amici regard it as their mission to bring to light the largely

hidden web of social and economic forces, corporate practices, cultural beliefs, and political


1
 Anne Case and Angus Deaton, Rising Morbidity and Mortality Rates in Midlife among White Non-Hispanic
Americans in the Twenty-First Century, 112(49) PROC. NAT’L ACAD. SCI. U.S. 15078 (2015).


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decisions in which the victims of the crisis were trapped. While amici welcomed this Court’s

recent decisions to unseal illuminating documents obtained in discovery in the above-captioned

matter, they also believe that a prospective settlement should take additional steps to guarantee

full and permanent access to the records that will enable scholars and policymakers to develop

evidence-based measures aimed at remedying the crisis in future years. A settlement exclusive of

such provisions, amici fear, might entail yet another irreparable loss.

       In this regard, the parallels between the tobacco and opioid litigation hold valuable

lessons. In both cases, the profits accumulated by the defendants in selling an addictive product,

however considerable, were dwarfed in the end by the resulting medical costs and loss of

productivity—not to mention the loss of life and limb. This means that in the case of tobacco no

more than in that of opioids there could be a realistic hope of devising a settlement that

compensated all victims and met all legitimate expectations. On the specific issue of access to

information, however, there is a broad consensus that the 1998 tobacco Master Settlement

Agreement (MSA) between the major U.S. cigarette manufacturers and the States succeeded

beyond expectations. In what follows, then, amici outline the MSA’s key transparency

provisions, highlight their implications for tobacco-related research and policymaking, and argue

that any settlement agreement in the instant MDL should include provisions drawn along the

same lines.




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    I.       THE TOBACCO INDUSTRY DOCUMENTS: A MODEL FOR THE
             PRESENT CASE

         A. Historical Introduction: The Public’s Right to Know in the Tobacco Litigation

         An initial trove of secret tobacco industry documents collected by a whistleblower from

the Brown and Williamson Tobacco Corporation (B&W) reached the Attorney General of the

State of Mississippi, Congress, and the press in early 1994.2 One set of these documents was also

forwarded to Professor Stanton Glantz, a renowned specialist on the health hazards of tobacco

smoke at the University of California, San Francisco (UCSF). Dr. Glantz deposited the

documents at the UCSF Library so they would become available to other researchers.3 Despite

the comparatively limited number of pages involved, these documents turned out to be of

considerable significance for subsequent efforts to expose the internal workings of the tobacco

industry. B&W filed suit against the University of California in an unsuccessful effort to recover

them.4 Invoking the “very strong public interest” in “permitting this information to remain for

use by the University or by others who may obtain it from the University,” the court ruled

against the company, allowing UCSF to place the documents on the Internet as early as June

1995.5

         The B&W papers provided some of the clearest and most publicized evidence to date that

the tobacco industry had known about the addictive properties of nicotine at least as far back as

the 1960s and had deliberately withheld that knowledge from the public. Within months of their


2
 ALLAN M. BRANDT, THE CIGARETTE CENTURY:            THE RISE, FALL, AND DEADLY PERSISTENCE OF THE PRODUCT
THAT DEFINED AMERICA at 369-375 (2007).
3
  See Stanton Glantz et al., Looking Through a Keyhole at the Tobacco Industry: The Brown and Williamson
Documents, 274(3) JAMA 219 (1995). See also the account recently provided in Stanton Glantz, Lawsuits Against
Companies Aren’t Just About Getting Money. They’re About Revealing the Truth, THE WASHINGTON POST (Sept. 9,
2019).
4
  Brown & Williamson Tobacco Corp. v. Regents of the Univ. of Cal., Case No. 967298 (Cal. Supr. Ct. May 25,
1995), available at https://www.industrydocuments.ucsf.edu/wp-content/uploads/2014/10/bw_ucregents.pdf.
5
  Id. The public’s right to access discovery documents produced in public interest litigation had been the subject of
protracted arguments in a prior cigarette tort case: Cipollone v. Liggett, 822 F.2d 335 (3d Cir. 1987).


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disclosure, State Attorneys General across the nation initiated the civil lawsuits against tobacco

manufacturers that ended in the signing of the Master Settlement Agreement four years later. In

the intervening years, three states—Mississippi, Texas, and Florida—settled separately with the

tobacco companies. In Minnesota, the case proceeded to trial. During the most far-reaching

discovery process ever to be conducted in the tobacco litigation, lawyers for the State obtained

more than thirty million pages of memoranda, reports, meeting minutes, letters, and other

confidential company records. They also produced extensive evidence of industry maneuvers to

destroy or conceal incriminating materials, including through sweeping assertions of attorney-

client privilege. On May 8, 1998, hours before jury deliberations were set to begin, the tobacco

defendants agreed to a settlement in the amount of $6.6 billion. In addition, the settlement

agreement compelled the defendants to maintain for a period of ten years two separate

depositories in which the millions of once-secret documents uncovered during the proceedings

were to be put at the public’s disposal.6

        B. The MSA’s Transparency Provisions

        The MSA, executed six months after the Minnesota settlement, further expanded access

to internal tobacco industry documents through a combination of two sets of provisions:

        (1) Public Access to Documents (MSA Section IV)

        MSA Sections IV(a) and IV(b) compelled the participating tobacco manufacturers to

support an application for the dissolution of all protective orders on the documents produced in

the course of the state lawsuits. Exceptions were provided solely for such documents as to which

the defendants had made successful claims of privilege, trade-secret protection, or confidential or




6
 BRANDT, supra note 2, at 415-419; Caroline Lilyard, The Minnesota Tobacco Trial, 1994-1998, 28(1) REF. SERV.
REV. 8, 11-14 (2000).


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proprietary business protection, and for documents whose disclosure would cause harm to

personal privacy interests or the contractual rights of third parties.

        MSA Section IV(c) also required each participating manufacturer to maintain, for a

period of twelve years and at its own expense, a website on which all documents released under

the terms of MSA Section IV were to be posted. Said documents included those produced to the

settling states during the pendency of the proceedings settled by the MSA as well as other

documents produced or listed as trial exhibits in a number of prior cases.7

        (2) Establishment of a National Foundation (MSA Section VI)

        MSA Section VI further provided for the establishment of an independent foundation

dedicated to educating the public on the risks of tobacco use. That foundation, known as the

American Legacy Foundation (until it was renamed Truth Initiative in 2015), in turn funded the

creation of the Legacy Tobacco Documents Library at UCSF, where the B&W papers had been

held since 1995. When it was unveiled in 2002, the online Legacy Library contained twenty-four

million pages of documents that the industry had turned over to the National Association of

Attorneys General (NAAG) subsequent to the execution of the MSA. In following years, the

Library downloaded millions of additional items from the document websites that participating

manufacturers were required to maintain pursuant to MSA Section IV(c) in order to index and

upload them onto its own specially-designed web portal.8




7
  MSA Section IV(d) & Exhibit H, “Document Production.” The list included, among other matters, the Mississippi,
Texas, Florida, and Minnesota suits that had been settled prior to the execution of the MSA as well as an extensive
list of FTC investigations into the tobacco industry’s advertising practices.
8
  The gift from the Legacy Foundation to the UCSF Library was in the amount of $12.5 million: a $2.5 million fund
for initial expenses including staffing and infrastructure costs and a $10 million fund to serve as an endowment to
support maintenance and preservation of the collections in perpetuity. The project claimed only a minimal fraction
of the $1.7 billion that the MSA had committed to supporting the Foundation’s missions.


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        C. The Industry Documents Library (IDL) and its Significance for Research

        The creation of the Legacy Tobacco Documents Library provided the impetus for a new

wave of scholarship on what is still, by many measures, the worst man-made public health

catastrophe in U.S. history. Before the Library went live in 2002, the tobacco industry documents

remained scattered across multiple physical and digital depositories. The sheer volume of the

documents produced by the tobacco litigation represented another daunting challenge for

researchers. The industry had neither the expertise nor the interest to sort, process, and catalogue

millions of documents in the interest of future research. It took the work of a dedicated team of

skilled digital librarians to transform what were in effect massive “document dumps,” both paper

and digital, into a single, permanent, and easily searchable online archive. Every document

posted on the Library’s website is described in an extensive set of metadata (e.g. title, author,

date, provenance, type of document, length) that guarantees its retrievability; and the content of

every text document is itself rendered fully text-searchable through optical character recognition

(OCR) software.9

      Hence, the Legacy Library emerged as a resource of unmatched depth and richness for

historians of science, medicine, and technology as well as historians of American business,

marketing, and consumer cultures. A bibliography maintained on the Library’s website currently

lists in excess of one thousand references to books, scientific or scholarly journal articles, policy

papers, and newspaper reports based on documents in its collections. It is no exaggeration to

state that, thanks to the Legacy Library, we know more about the tobacco industry and its



9
 See Lisa Bero, Implications of the Tobacco Industry Documents for Public Health and Policy, 24 ANN. REV. PUB.
HEALTH 267 (2003), on the challenges of exploiting the tobacco industry documents prior to the Legacy Tobacco
Documents Library’s creation; and ROBERT N. PROCTOR, GOLDEN HOLOCAUST: ORIGINS OF THE CIGARETTE
CATASTROPHE AND THE CASE FOR ABOLITION at 15-6 (2011), on the transformative potential of fully searchable
digital archives for historical research.


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internal workings than any other modern industry.10 Nor is the significance of the Library’s

documentary holdings confined to the history of tobacco. Two prominent historians of science,

for example, relied on them to trace the origins of strategies recently employed by the fossil fuel

industry to challenge the scientific consensus on climate change to strategies first devised by the

tobacco industry to mislead the public on the link between tobacco smoke and lung cancer.11

Given Big Tobacco’s pioneering role in the development of marketing, public relations, and

legal strategies designed to deceive the public, forestall regulation, and escape accountability in

court, the tobacco documents shine an exceptionally bright light on corporate practices now

adopted across regulated industries to undermine legally mandated oversight.

      To facilitate cross-industry investigations of corporate practices influencing public and

environmental health, the Legacy Library eventually expanded its mission beyond the collection

of tobacco documents. In 2006, it established the Drug Industry Documents Archive (DIDA) as a

companion site to the Tobacco Documents Library. More recently, additional sections were

created to make chemical, food, and fossil fuel industry documents available through the same

interface as the tobacco and pharmaceutical industry documents. These various collections are all

freely accessible to researchers and the public through a single web portal renamed Industry

Documents Library (IDL) in 2015. With over 91 million pages of documents as of the filing of

this brief, IDL is the largest business archive in the world, and one that sets global standards for

accessibility, ease of use, and impact.12




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TRUTH ON ISSUES FROM TOBACCO SMOKE TO GLOBAL WARMING (2010).
12
   See Overview, INDUSTRY DOCUMENTS LIBRARY, https://www.industrydocuments.ucsf.edu/about/overview/ (last
visited Sep. 5, 2019).


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     II.      A PLEA FOR TRANSPARENCY PROVISIONS IN A SETTLEMENT OF THE
              OPIOID LITIGATION

           A. Three Essential Conditions

           As the history of the tobacco documents makes plain, the unsealing of industry litigation

documents is merely a first step in the effort to make them genuinely accessible to researchers

and the public. In order to maximize the benefits of a disclosure of the opioid manufacturers’ and

distributors’ internal documents, the following conditions must be met as well:

           (1) The Documents Should be Accessible through a Single Web Portal

           In hindsight, there is little doubt that the impact of the millions of industry documents

disclosed in the course of the tobacco litigation would have been greatly reduced had they

remained dispersed across courthouses, brick-and-mortar depositories, corporate archives, and/or

temporary company websites. The cost of assembling the documentary base for any

comprehensive research project on the history of tobacco would have remained prohibitively

high, and the research output correspondingly low. Critical research findings would have been

slower to emerge; their tentative nature would have cast a lasting shadow on their value and

public reception.

           Fortunately, the tobacco documents escaped this fate. The transfer of tobacco litigation

documents onto a single digital platform consultable at no cost to anyone with an Internet

connection created genuine accessibility for researchers as well as for numerous constituencies

beyond the academic research community. Indeed, IDL documents have been used in multiple

court proceedings and congressional hearings.13 They have been studied and cited by journalists,


13
  The IDL documents were cited extensively, for example, in the United States Department of Justice’s action
against the leading American cigarette manufacturers under the federal Racketeer Influenced and Corrupt
Organizations (RICO) Act. See, e.g., United States’ Final Proposed Findings of Fact, United States v. Philip Morris,
99-CV-02496 (D. D.C. Jul. 1, 2004) [Dkt #3443]. The final judgment in that case further expanded the range of
documents that tobacco companies were compelled to disclose as well as extended the duration of time that the


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teachers, and students. And perhaps most important insofar as justice is concerned, the truths

they hold are within the reach of each and every victim whose right to know what the tobacco

industry knew, concealed, and even denied for decades is now beyond dispute.

        (2) The Documents Should be Processed at Defendants’ Expense

        Given the sheer volume of evidence likely to be produced in the course of the opioid

litigation, bringing the released documents into a unified archiving and indexing scheme is of the

essence. It is the only way to rescue researchers from the needle-in-a-haystack problem that

stymied any effort to exploit the tobacco industry documents prior to the creation of the Legacy

Library. In order to make it retrievable and exploitable at a later date, every document ought to

be processed and indexed prior to its release. This work ought to be undertaken by skilled digital

archivists, and has a cost which the defendants have the wherewithal and, amici contend, the

responsibility to shoulder.

        (3) The Documents Should be Maintained in a Stable Digital Environment

        Research takes time, all the more so when the evidence that demands study is as

voluminous and complex as it is in the matter at hand. The first comprehensive and fully

documented accounts of the history of the tobacco catastrophe, for instance, appeared in the last

ten to fifteen years—that is, whole decades after the peak of U.S. tobacco consumption and the

first consequential efforts to bring tobacco manufacturers to account, but in relatively short order

upon the creation of the Legacy Library.14


companies were required to maintain the documents on their respective internet document websites. See Final
Judgment and Remedial Order, United States v. Philip Morris, 99-CV-02496 (D. D.C. 2006), at 10-16, available at
https://www.justice.gov/sites/default/files/civil/legacy/2014/09/11/ORDER_FINAL_0.pdf.
14
   E.g. BRANDT, supra note 2; PROCTOR, supra note 8; and SARAH MILOV, THE CIGARETTE: A POLITICAL HISTORY
(forthcoming 2019). The same is true of influential scholarship on other large-scale public health catastrophes such
as lead poisoning. See GERALD MARKOWITZ & DAVID ROSNER, DECEIT AND DENIAL: THE DEADLY POLITICS OF
INDUSTRIAL POLLUTION (2002) and GERALD MARKOWITZ & DAVID ROSNER, LEAD WARS: THE POLITICS OF
SCIENCE AND THE FATE OF AMERICA’S CHILDREN (2013), which relied in part on industry documents released in the
course of litigation against lead paint manufacturers.


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        Likewise, research on the opioid crisis remains in its infancy and should continue to grow

in scope and depth beyond the present generation of scholars. Therefore, it is critical that any

settlement agreement ensure that the documents disclosed in the current litigation are

permanently accessible and preserved in a stable environment such that they can be retrieved and

referenced for as long as interest into the opioid crisis is likely to endure. In fact, amici submit

that a settlement in the instant litigation ought to go farther than the MSA, which only

guaranteed access to industry documents until 2010, by providing for the preservation of the

opioid litigation documents into perpetuity.15

        B. Amici’s Proposal

        Accordingly, we submit that any settlement in the above-captioned prescription opiate

litigation should:

        (1) Incorporate, mutatis mutandis, sections IV(a) and IV(b) of the MSA, which secured

the removal of protective orders and/or seals on all documents produced in the litigation as to

which participating manufacturers had no bona fide confidentiality claim;

        (2) Order that the settling defendants make such documents available to the entity

established to oversee the settlement’s execution and supply the funding needed to index,

publicize, and maintain those documents on a durably established and freely accessible digital

archive designated by said entity for these purposes.

        If the settlement were to provide for the creation of a public-interest foundation following

the model of the American Legacy Foundation (now Truth Initiative), amici respectfully

recommend that the settlement vest that foundation with the authority to determine how and

where the funds and documents should be directed so as to best fulfill the three above-

15
  Absent the Truth Initiative’s decision to support the transfer of the tobacco documents to IDL and the Final
Judgment and Order in United States v. Philip Morris, supra note 13, those invaluable public resources may well
have been lost by now.


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enumerated conditions. Amici further submit that several signatories to this brief would be well-

qualified to advise the settlement administrators in this matter.

         These two recommendations are to some degree independent. Thus, amici maintain that,

no matter the eventual scope of discovery materials unsealed in the course of these or related

litigation matters, the settling defendants should provide the funds for their collection,

cataloguing, and preservation in the public interest.16

         C. Funding Requirements

         For the purpose of assisting this Honorable Court, amici have appended a proposal cost

estimate prepared by UCSF’s Industry Documents Library to this brief. According to this

estimate, funding in the amount of $30 million, which includes $5 million for initial expenses

and $25 million to serve as an endowment, would enable the Library to acquire, index, post, and

maintain as many as seven million opioid documents (twenty-eight million pages) on its website

in perpetuity.17 Amici understand that there may be reasons unknown to them that counsel in

favor of establishing an opioid litigation document archive under different institutional auspices.

While IDL’s record offers the highest level of guarantees, amici acknowledge, as they must, that

the goals outlined in this brief could be achieved in a different institutional context.

          CONCLUSION: ON THE IMPORTANCE OF INDUSTRY DOCUMENTS
                       FOR PUBLIC HEALTH REFORM

         The chief purpose of ensuring public access to the documents disclosed in the above-

captioned proceedings is not to satisfy the curiosity of a narrow circle of academic researchers,

16
   Related litigation matters would typically include the suits filed against defendant manufacturers and distributors
by State Attorneys General in state court. The documents unsealed in those cases—most recently in Kentucky ex rel.
Conway v. Purdue Pharma L.P. et al., Case No. 07-CI-01303 (Pike Cir.), following a 2016 motion to unseal records
by the Boston Globe—or added to parties’ trial exhibit lists in Oklahoma ex rel. Hunter v. Purdue Pharma L.P. et
al., Case No. CJ-2017-816 (Cleveland Cty. Dist. Ct.), should be included in the list of documents to be collected and
preserved at the settling defendants’ expense.
17
   These two numbers are unofficial estimates provided to IDL by a source with knowledge of the Massachusetts
opioid case. At this stage, IDL does not have a more reliable estimate of the total number of documents produced in
the course of this MDL and related litigation matters.


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no more than to give fodder to fruitless finger-pointing. Rather, amici view it as an indispensable

element of any comprehensive strategy to ameliorate the country’s ongoing drug use and

overdose crisis and to prevent similar crises from occurring in the future. If history is any guide,

the eventual benefits of the proposal outlined herein should well outweigh the comparatively low

costs required for its implementation.

         In the case of tobacco, the disclosure of documents that exposed the industry’s duplicity

likely played a greater role than any other litigation-related outcome in swaying public opinion

on cigarette use. So long as smoking was regarded as a matter of personal choice, and smoking-

related illness as the price one paid for one’s own failings, public support for meaningful

remedial action remained scant. As a clearer collective understanding of the forces that shaped

individual choices to start or quit smoking began to form, however, so too did the collective will

to pursue meaningful reform. Research has demonstrated that the policies enacted and resources

mobilized as a result of changing public attitudes toward smoking have almost certainly done

more for tobacco control than those enacted or mobilized by the MSA itself. Whereas serious

concerns about the benefits of MSA payouts to the states emerged soon after the settlement’s

signing, the significance of the tobacco industry documents for national tobacco control efforts

has become more obvious with each passing year.18 The lesson for the present case is clear:

litigation can be an effective tool in addressing large-scale public health crises provided that it

succeeds in preserving its original function as a public fact-finding process.19



18
   The impact of the MSA’s final provisions on public health are discussed in a prior amicus brief filed in this MDL:
Brief of Amici Curiae in Support of Settlement with Favorable Public Health Outcomes Filed by Northeastern
University Center for Health Policy and Law, In re: Nat’l Prescription Opiate Litig., MDL No. 2804 (May 9, 2019),
Doc #: 1626, at 7-10. On the effects of the release of secret tobacco documents on public attitudes toward smoking
and smoking-related illness, see BRANDT, supra note 2, at 437-440.
19
   See, e.g., ELIZABETH C. BURCH, MASS TORT DEALS: BACKROOM BARGAINING IN MULTIDISTRICT LITIGATION
(2019); Jennifer D. Oliva, Opioid Multidistrict Litigation Secrecy, 80 OHIO ST. L. J. __ (forthcoming 2019),
available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3411746.


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       In sum, a resolution of the above-captioned litigation has a unique opportunity to make

the public record on the opioid crisis as as extensive and accessible as it has become in the case

of tobacco. The defendants’ financial resources are finite, but their internal documents too

constitute valuable assets in the task ahead, for they can help shape public knowledge of the

crisis in ways that are likely to make a lasting difference in the nation’s response to it. The

proposal put forward in this brief is well within the purview of any global settlement likely under

consideration in the instant proceedings, more so certainly than of any individual trial court. By

the same token, a global settlement also offers the defendants a unique opportunity to recover

exclusive possession of these documents and shield them durably from public scrutiny. Amici

urge the Court not to let this happen. These documents should see the light of day; the public’s

interest in their release is overwhelming.



Respectfully submitted,

/s/Jennifer D. Oliva

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                               APPENDIX
     An Estimate of Costs to Establish and Maintain an Opioid Documents Archive

                   By the UCSF Industry Documents Library
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                          UCSF Industry Documents Library

Library                   Estimate of Costs to Establish and Maintain an Opioid Documents Archive
530 Parnassus Avenue
Box 0840                  Background
San Francisco, CA 94143

                          The UCSF Industry Documents Library (IDL) seeks to preserve documents produced
                          through opioid litigation and to make them freely available online for the public good.

                          Housed at the University of California, San Francisco, the IDL has been committed to
                          the preservation and public accessibility of internal industry documents for 20 years.
                          IDL's mission is to identify, collect, curate, preserve, and make freely accessible
                          internal documents created by industries and their partners which have an impact on
                          public health, for the benefit and use of researchers, clinicians, educators, students,
                          policymakers, media, and the general public at UCSF and internationally. The IDL
                          currently houses over 14 million industry documents which were released as a result of
                          litigation against the tobacco industry and from other sources. The collections are
                          publicly available to all at https://industrydocuments.ucsf.edu.

                          Opioid Documents Archive

                          The number of opioid documents which could become available through public
                          disclosure in current litigation has been estimated as 7 million documents, or
                          approximately 28 million pages. To establish and maintain a publicly accessible
                          archive of this size in perpetuity, IDL proposes to use the same model which created
                          the Truth Tobacco Industry Documents collection in 2002.

                          The Truth Tobacco Industry Documents Model

                          At the time of its founding, the Truth Tobacco Industry Documents collection
                          (originally known as the Legacy Tobacco Documents Library) contained
                          approximately 24 million pages. To build the archive, the UCSF Library hired a team
                          of seven librarians and programmers to design and develop the infrastructure and user
                          interface required to manage, preserve, and provide public access to the documents.
                          Based on our experience, a similar level of effort would be needed to establish and
                          maintain an opioid documents collection. Since its launch in 2001 the IDL has
                          expanded to encompass more than 90 million pages. Besides tobacco, it now includes
                          smaller sets of materials from drug, chemical, food and fossil fuel industries, and
                          continues to grow.

                          A significant difference between the tobacco and opioid collections is that the tobacco
                          documents were indexed prior to their acquisition by the UCSF Library, and included
                          document-level metadata such as Title, Author, Document Date, and Organizations
                          Mentioned. It is our understanding that such document-level metadata for the opioid
                          documents has not yet been created, necessitating additional work to index the
                          documents for fielded searching and maximum accessibility.

                          Academic Research Center

                          The UCSF Center for Tobacco Control Research and Education (CTCRE) was created
                          alongside the Industry Documents Library to facilitate research, education, and training
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              related to the documents and to tobacco control generally. The co-development of a
              research center in parallel with IDL has proven to be a critical factor in ensuring that
              documents are shared with a wide audience beyond UCSF. Research by CTCRE
              faculty and students has been one of the most successful methods of raising awareness
              of the tobacco documents among academic, scientific, government, and public
              communities, and in interpreting findings into concrete policy changes and real
              improvements in public health.

              UCSF faculty who are deeply involved in researching the opioid crisis have similarly
              committed their support to a digital library and research center focused on the opioid
              documents:

              Daniel Ciccarone, MD, MPH, is the Principal Investigator of the Heroin in Transition
              study, funded by the National Institutes of Health (NIH) /National Institute on Drug
              Abuse (NIDA). This public health study investigates the “Triple Wave Epidemic” by
              examining the intersection between opioid pill, heroin and synthetic opioid (ie
              fentanyls) waves. This is a multidisciplinary, multi-level study incorporating the
              disciplines of public health, addiction medicine, economics, anthropology and
              statistical modeling. The team has published 23 peer-reviewed papers exploring the
              size and scope of the opioid crisis, user perspectives, supply and demand forces driving
              the epidemic and strategies for intervention, among others, and their work has received
              significant media attention.

              Kelly Ray Knight, PhD, is Associate Professor in the Department of Anthropology,
              History and Social Medicine at UCSF. Her research has focused on the study of
              individual, interpersonal and socio-structural factors that contribute to health outcomes
              and healthcare utilization for people who use illicit substances. Dr. Knight is currently
              Principal Investigator (PI) of a NIDA-funded ethnographic study, Examining the
              Consequences of Reductions in Opioid Prescribing on Patients, Clinical Care, and
              Community Health, that seeks to improve understanding of the positive and negative
              consequences of reductions in opioid prescribing to inform clinical and policy
              recommendations. She served as PI of the completed NIDA-funded ethnographic
              study, Pain Management in the Clinic and Community which examined chronic, non-
              cancer pain management practices of primary care clinicians and their patients with a
              history of substance use in safety net clinical health care settings and patients’ home
              environments. She is also co-investigator on the NIDA-funded epidemiologic cohort
              study, Cohort Study of Opioids, Pain, and Safety in an era of Changing Policy. In
              2017, Dr. Knight was appointed to the University of California Opioid Curriculum
              Taskforce to develop recommendations and curricula in response to the opioid crisis
              for implementation across all University of California medical schools.


              Funding Requirements

              To establish the Truth Tobacco Industry Documents archive and its companion
              Academic Research Center, the UCSF Library received a $12.5 million gift from the
              American Legacy Foundation in 2001. The gift comprised a $2.5 million fund for
              initial expenses including staffing and infrastructure costs, and a $10 million fund to
              serve as an endowment to support maintenance and preservation of the collections in
              perpetuity.
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              Adjusting for inflation, a larger collection of documents, and the additional costs of
              indexing, the UCSF Library seeks a gift of $30 million to establish an opioid
              documents archive, including $5 million for initial expenses and $25 million for an
              endowment fund.


              Impact of Public Access to Industry Documents

              When the Legacy Tobacco Documents Library was launched in 2002, it provided the
              first opportunity for public health researchers, lawyers, journalists, community
              advocates, and people adversely affected by tobacco and smoking to access these
              previously-secret documents and to determine the truth about the tobacco industry’s
              activities and tactics. Opening these documents to the public proved critical in
              understanding the impact the industry had on the rise of smoking, the increase in
              tobacco-related diseases and deaths, scientific research and study, and the public health
              burden placed on communities and healthcare systems.

              Hosting the documents in one central library database meant that researchers could
              access any of the documents, at any time, from anywhere in the world, enabling a surge
              of study and analysis which has been supported by dozens of national research grants
              and which has produced over 1,000 publications. These include peer-reviewed
              academic studies, monographs, news articles, documentaries, and major public health
              reports by the World Health Organization and other civil society organizations. The
              documents have also been used extensively in litigation against the tobacco industry
              around the world; in parliamentary and legislative hearings; and have informed tobacco
              control policy work and regulations throughout the U.S. and globally.

              To maximize the public benefit of opioid litigation efforts, it is imperative that these
              discovery documents be made publicly and freely available. The UCSF Industry
              Documents Library has served as a permanent and stable repository for industry
              documents since 2002 and is fully committed to providing access to documents which
              present the truth about industry’s impact on public health. Preserving opioid litigation
              documents for public research and investigation will shed light on industry practices
              and shape the social and political environment of opioid manufacture and distribution
              for generations to come.
